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V. -.. w., ._... ,. .… . ,,..., _,'-'~\

UNITED STATES OF AMERICA
v.

SALVADOR VEN'EGAS~FLORES

I, SALVADOR VENEGAS-FLORES, the above named defendant, who is

 

committing the following offense:

WAIVER OF INDICTMENT

CASE NUMBER; 02<:£ z/o ~(>M$

Title 8, U.S.C., Sec. 1325 ~ lllcgal Entry (Felony),'

accused of

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

2'?'52

waive in open court on

proceeding may be by information rather than by indictment.

Beforc
IUDICML OFFICER

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Defendant

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Counsel for Defendant

prosecution by indictment and con sent that the

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